Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 1 of 17




                                                   DATE FILED
                                                   September 6, 2024
                                                   CASE NUMBER: 2024CV681
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 2 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 3 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 4 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 5 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 6 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 7 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 8 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 9 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 10 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 11 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 12 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 13 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 14 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 15 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 16 of 17
Case No. 1:24-cv-02977-SKC-MEH   Document 1-1   filed 10/24/24   USDC Colorado
                                 pg 17 of 17
